   Case 1:25-cv-23147-DPG Document 1-16 Entered on FLSD Docket 07/15/2025 Page 1 of 4

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                       SouthernDistrict
                                                    __________ Districtof
                                                                        of__________
                                                                          Florida


                   TIKTOK GLOBAL LLC                                 )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 0:25-cv-60645
                                                                     )
            BYTEDANCE LTD., TIKTOK INC.,                             )
                 and YIMING ZHANG                                    )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) BYTEDANCE LTD.
                                           c/o TIKTOK INC
                                           Corporation Service Company, Registered Agent
                                           1201 Hays Street
                                           Tallahassee, Florida 32301



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: David P. Reiner, II
                                           REINER & REINER, P.A.
                                           9100 So. Dadeland Blvd., Suite 901
                                           Miami, Florida 33156



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:
                                                                                          Signature of Clerk or Deputy Clerk
   Case 1:25-cv-23147-DPG Document 1-16 Entered on FLSD Docket 07/15/2025 Page 2 of 4

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                       SouthernDistrict
                                                    __________ Districtof
                                                                        of__________
                                                                          Florida


                   TIKTOK GLOBAL LLC                                 )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 0:25-cv-60645
                                                                     )
            BYTEDANCE LTD., TIKTOK INC.,                             )
                 and YIMING ZHANG                                    )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) BEIJING TELECOMMUNICATIONS CO. LTD
                                           c/o TIKTOK INC
                                           c/o Corporation Service Company, Registered Agent
                                           1201 Hays Street
                                           Tallahassee, Florida 32301



          A lawsuit has been filed against you.

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P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: David P. Reiner, II
                                           REINER & REINER, P.A.
                                           9100 So. Dadeland Blvd., Suite 901
                                           Miami, Florida 33156



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                                                                                CLERK OF COURT


Date:
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   Case 1:25-cv-23147-DPG Document 1-16 Entered on FLSD Docket 07/15/2025 Page 3 of 4

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                       SouthernDistrict
                                                    __________ Districtof
                                                                        of__________
                                                                          Florida


                   TIKTOK GLOBAL LLC                                 )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 0:25-cv-60645
                                                                     )
            BYTEDANCE LTD., TIKTOK INC.,                             )
                 and YIMING ZHANG                                    )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) TIKTOK INC
                                           c/o Corporation Service Company, Registered Agent
                                           1201 Hays Street
                                           Tallahassee, Florida 32301




          A lawsuit has been filed against you.

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P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: David P. Reiner, II
                                           REINER & REINER, P.A.
                                           9100 So. Dadeland Blvd., Suite 901
                                           Miami, Florida 33156



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
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                                                                                CLERK OF COURT


Date:
                                                                                          Signature of Clerk or Deputy Clerk
   Case 1:25-cv-23147-DPG Document 1-16 Entered on FLSD Docket 07/15/2025 Page 4 of 4

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                       SouthernDistrict
                                                    __________ Districtof
                                                                        of__________
                                                                          Florida


                   TIKTOK GLOBAL LLC                                 )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 0:25-cv-60645
                                                                     )
            BYTEDANCE LTD., TIKTOK INC.,                             )
                 and YIMING ZHANG                                    )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) YIMING ZHANG
                                           c/o TIKTOK INC
                                           Corporation Service Company, Registered Agent
                                           1201 Hays Street
                                           Tallahassee, Florida 32301



          A lawsuit has been filed against you.

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the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
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                                           REINER & REINER, P.A.
                                           9100 So. Dadeland Blvd., Suite 901
                                           Miami, Florida 33156



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:
                                                                                          Signature of Clerk or Deputy Clerk
